 ORDER PER CURIAM AND NOW, this 26th day of September, 2017, the Petition for Allowance of Appeal is GRANTED The issues, as stated by Petitioner, are: a. Does the Superior Court’s decision to reverse the trial court’s finding of waiver, despite Giant Eagle’s failure to object to flawed jury instructions, flawed verdict slip and/or the problematic verdict, all of which contributed to the error complained of on appeal, conflict with this Court’s holding in Straub v. Cherne Indus., 583 Pa. 608, 880 A.2d 561 (2005), a case not considered by the Superior Court? b. Does the Superior Court’s decision to excuse Giant Eagle’s failures to object to flawed jury instructions, flawed verdict slip and/or a problematic verdict, merely because the appeal is styled as a “challenge to the weight of the evidence,” conflict with the timely objection requirement of Dilliplaine v. Lehigh Valley Trust Co., 457 Pa. 255, 322 A.2d 114 (1974)? 